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                          Exhibit G
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Jeffrey N. Leibell

From:                         Chanler A. Langham <clangham@SusmanGodfrey.com>
Sent:                         Tuesday, November 26, 2019 2:28 PM
To:                           Jeffrey N. Leibell; Adam Zapala; Salzman, Hollis; Marc Seltzer; Richard A. Wojtczak
Cc:                           Robin Niemiec
Subject:                      RE: Auto Parts - EPP Ltr to Financial Recovery Strategies
Attachments:                  PROPOSED ORDER: 12-00103



Jeffrey,

Thank you for speaking with me today. Based on our discussion, I understand that FRS has
already submitted claims for the fleet purchases of each of its clients. Please send us a list of
the claim numbers or entities that filed the claims. As discussed, here is the proposed briefing
schedule for FRS’s letter to the Court:

       FRS Letter                            December 16, 2019
       EPP Opposition                        January 16, 2020
       FRS Reply                             January 31, 2020

I have also attached a copy of the proposed stipulation with GEICO that we submitted to the
Court on November 20. Please confirm that the above proposed schedule is acceptable and let
us know whether you would like to discuss this matter further.

Regards,
‐ Chanler

CHANLER A. LANGHAM
PARTNER | SUSMAN GODFREY LLP
713‐653‐7839 (OFFICE)
713‐377‐2320 (MOBILE)
CLICK HERE FOR BIO

THIS MESSAGE MAY CONTAIN PRIVILEGED AND CONFIDENTIAL INFORMATION. IF YOU'RE NOT THE INTENDED RECIPIENT, PLEASE DELETE THIS MESSAGE.




From: Jeffrey N. Leibell <jleibell@frsco.com>
Sent: Monday, November 25, 2019 7:07 AM
To: Chanler A. Langham <clangham@SusmanGodfrey.com>; Adam Zapala <AZapala@cpmlegal.com>; Hollis Salzman
(hsalzman@rkmc.com) <hsalzman@rkmc.com>; Marc Seltzer <MSeltzer@SusmanGodfrey.com>; Richard A. Wojtczak
<rwojtczak@susmangodfrey.com>
Cc: Robin Niemiec <rniemiec@frsco.com>
Subject: RE: Auto Parts ‐ EPP Ltr to Financial Recovery Strategies
                                                                                      1
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Counsel,
On behalf of our clients, FRS appreciates your continued willingness to engage on this matter.
At this point, however, it seems clear that, notwithstanding our mutual efforts to do so, we will not reach an agreement
on the merits and, therefore, that a resolution will require bringing the matter to the Court’s attention. With that in mind,
we would like your consent to include in our letter and to describe as agreed upon – subject of course to the Court’s
approval – the following schedule that seeks to avoid disrupting anyone’s holiday plans:
       FRS Letter                          December 2, 2019
       EPP Opposition                      December 20, 2019
       FRS Reply                           January 6, 20206
FRS will transmit to you our letter and our reply via email on the same days that each is submitted to the Court; we request
the same courtesy concerning your opposition.
While we do not agree on the merits, we should be able to agree on the proposed manner for bringing this matter to the
Court. Please let us know at your earliest convenience whether our suggested approach is agreeable.
Thank you again.
Jeff

Jeffrey N. Leibell
Chief Legal & Financial Officer
201.853.1246 | jleibell@frsco.com | LinkedIn


                Financial Recovery Strategies
                80 Wesley Street, South Hackensack, NJ 07606
                201.853.0300 Main | 201.853.0301 Fax | www.FRSCO.com
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or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email, and destroy all copies and attachments of the original
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Administrator.
The above communication is not intended to provide any tax advice. If you wish to obtain tax advice concerning any matter described or referred to in this email
message, you should contact your tax advisor.
Financial Recovery Strategies (FRS) is a third‐party class action settlement claims recovery consulting firm; we are not class counsel or a claims administrator. Class
members may always file claims on their own without retaining FRS, and may contact class counsel and the claims administrator for information about a settlement
and for claims filing assistance. FRS, if retained, works on an agreed‐upon contingent commission basis.


From: Chanler A. Langham <clangham@SusmanGodfrey.com>
Sent: Wednesday, November 6, 2019 7:42 PM
To: Jeffrey N. Leibell <jleibell@frsco.com>
Cc: Adam Zapala <AZapala@cpmlegal.com>; Hollis Salzman (hsalzman@rkmc.com) <hsalzman@rkmc.com>; Marc
Seltzer <MSeltzer@SusmanGodfrey.com>; Richard A. Wojtczak <rwojtczak@susmangodfrey.com>
Subject: RE: Auto Parts ‐ EPP Ltr to Financial Recovery Strategies

Counsel,

We would like to clarify that, consistent with our previous conversations, the header should
say “Privileged For Settlement Purposes Only Subject to FRE 408.” We did not intend to assert
the attorney‐client or work product privilege over our communications because we do not
have an attorney‐client relationship with Financial Recovery Strategies or the entities it may
represent.

                                                                                  2
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                                          13

Regards,
‐ Chanler



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From: Chanler A. Langham
Sent: Saturday, November 2, 2019 9:20 PM
To: jleibell@frsco.com
Cc: Adam Zapala <AZapala@cpmlegal.com>; Hollis Salzman (hsalzman@rkmc.com) <hsalzman@rkmc.com>; Marc
Seltzer <MSeltzer@SusmanGodfrey.com>
Subject: Auto Parts ‐ EPP Ltr to Financial Recovery Strategies

Counsel,

Please see the attached correspondence.

Regards,

CHANLER A. LANGHAM
PARTNER | SUSMAN GODFREY LLP
713‐653‐7839 (OFFICE)
713‐377‐2320 (MOBILE)
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Jeffrey N. Leibell

From:                do_not_reply@mied.uscourts.gov
Sent:                Wednesday, November 20, 2019 5:00 PM
To:                  Chanler A. Langham
Subject:             PROPOSED ORDER: 12-00103
Attachments:         Proposed_Order_20191120_16_59_36_602.docx




*** ATTORNEY COPY ***
Stipulation Regarding the Geico Entities Opting into the Settlement Classes and Proposed Order Thereon
 ‐‐‐ File originally uploaded as: 2019‐11‐20 Geico Stipulation to Opt In to EPP Round 4 Settlements.docx.




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                          -UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                  :   No. 12-md-02311
    IN RE: AUTOMOTIVE PARTS ANTITRUST
                                                  :   Hon. Marianne O. Battani
    LITIGATION
                                                  :
    In Re: Wire Harness Systems                   :   Case No. 2:12-cv-00103
    In Re: Heater Control Panels                  :   Case No. 2:12-cv-00403
    In Re: Automotive Bearings                    :   Case No. 2:12-cv-00503
    In Re: Anti-Vibrational Rubber Parts          :   Case No. 2:13-cv-00803
    In Re: Windshield Wiper Systems               :   Case No. 2:13-cv-00903
    In Re: Radiators                              :   Case No. 2:13-cv-01003
    In Re: Starters                               :   Case No. 2:13-cv-01103
    In Re: Automotive Lamps                       :   Case No. 2:13-cv-01203
    In Re: Ignition Coils                         :   Case No. 2:13-cv-01403
    In Re: HID Ballasts                           :   Case No. 2:13-cv-01703
    In Re: Electric Powered Steering Assemblies   :   Case No. 2:13-cv-01903
    In Re: Fan Motors                             :   Case No. 2:13-cv-02103
    In Re: Fuel Injection Systems                 :   Case No. 2:13-cv-02203
    In Re: Power Window Motors                    :   Case No. 2:13-cv-02303
    In Re: Automatic Transmission Fluid Warmers   :   Case No. 2:13-cv-02403
    In Re: Air Conditioning Systems               :   Case No. 2:13-cv-02703
    In Re: Windshield Washer Systems              :   Case No. 2:13-cv-02803
    In Re: Automotive Constant Velocity           :   Case No. 2:14-cv-02903
           Joint Boot Products                    :
    In Re: Spark Plugs                            :   Case No. 2:15-cv-03003
    In Re: Shock Absorbers                        :   Case No. 2:15-cv-03303
    In Re: Body Sealings                          :   Case No. 2:16-cv-03403
    In Re: Interior Trim Products                 :   Case No. 2:16-cv-03503
    In Re: Automotive Brake Hoses                 :   Case No. 2:16-cv-03603
    In Re: Exhaust Systems                        :   Case No. 2:16-cv-03703
    In Re: Ceramic Substrates                     :   Case No. 2:16-cv-03803
    In Re: Automotive Steel Tubes                 :   Case No. 2:16-cv-04003
    In Re: Access Mechanisms                      :   Case No. 2:16-cv-04103
    In Re: Side Door Latches                      :   Case No. 2:16-cv-04303
                                                  :
    THIS DOCUMENT RELATES TO:                     :
    End-Payor Actions                             :

          STIPULATION REGARDING THE GEICO ENTITIES OPTING INTO THE
              SETTLEMENT CLASSES; AND [PROPOSED] ORDER THEREON




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           This Stipulation is made in the above-referenced actions, subject to the approval of the

   Court, by and between the End-Payor Plaintiffs (“EPPs”), on the one hand, and Government

   Employees Insurance Company, GEICO General Insurance Company, GEICO Indemnity

   Company, GEICO Casualty Company, GEICO Advantage Insurance Company, GEICO Choice

   Insurance Company, GEICO Secure Insurance Company, and GEICO County Mutual Insurance

   Company (collectively, the “GEICO entities”), on the other hand, in light of the following:

                      A.   The GEICO entities were found by the Court to have validly requested

                           exclusion from the Settlement Classes certified with respect to the Rounds

                           1, 2, and 3 Settlements;

                      B.   The deadline to request exclusion from the Settlement Classes certified with

                           respect to the Round 4 Settlements will expire on November 19, 2019;

                      C.   The GEICO entities filed lawsuits alleging antitrust violations related to

                           automotive parts against many of the defendants that settled with EPPs and

                           the GEICO entities have now settled their claims against all of these

                           defendants;

                      D.   The GEICO entities have represented and warranted and hereby do

                           represent and warrant that no payments have been or will be made to any of

                           them by the foregoing defendants based on their purchases or leases of

                           qualifying vehicles made by the GEICO entities for their own account or

                           the purchase of replacement parts purchased for those vehicles;

                      E.   The GEICO entities have now requested that they be allowed to opt into the

                           Settlement Classes for Rounds 1, 2, and 3 for the limited purpose of

                           submitting claims to share in the settlement funds established in this


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                           litigation based solely on purchases or leases of qualifying vehicles made

                           for their own account and not for resale and replacement parts purchased

                           for those vehicles; and

                      F.   Co-lead Counsel for the EPPs have agreed to the GEICO entities’ request

                           on the terms and conditions described below.

               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, subject to

           the approval of the Court, by the EPPs and the GEICO entities that the GEICO entities may

           opt into the Settlement Classes certified with respect to Rounds 1, 2, and 3 settlements and

           remain members of the Settlement Classes preliminarily approved pursuant to the Round

           4 settlements on the following terms and conditions:

                      1.   The GEICO entities may submit claims to share in the proceeds of the

                           settlements solely with respect to the GEICO entities’ purchases or leases

                           of qualifying new motor vehicles purchased for their own account, and not

                           for resale, and purchases of replacement parts for those vehicles. The term

                           “purchased for their own account” means purchases of vehicles for use by

                           the GEICO entities in their own fleets of vehicles and not purchases made

                           pursuant to any obligations to any GEICO insureds or claimants against any

                           GEICO insureds. The GEICO entities shall be required to document and

                           provide proof of purchases or leases of qualifying new motor vehicles and

                           purchases of replacement parts satisfactory to the Claims Administrator and

                           as may be required by the Court and to otherwise comply with the

                           requirements applicable to members of the Settlement Classes who submit

                           claims to share in the settlement funds.


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                      2.   The GEICO entities agree to assert no claim to share in any of the class

                           settlement funds and agree not to assert any claim against any class

                           members or seek payments from any class members relating to the class

                           settlements based on principles of contractual or equitable subrogation

                           relating to policies of insurance issued by any of the GEICO entities, or any

                           other basis, other than claims based solely on purchases or leases by the

                           GEICO entities of qualifying new vehicles for their own account, and not

                           for resale, and purchases of replacement parts for those vehicles. The

                           GEICO entities also agree not to assign to anyone any claim to share in the

                           settlement funds or against any class members or any payments to any class

                           members. The GEICO entities hereby represent and warrant that they have

                           made no such assignments. The GEICO entities also agree to assert no

                           claims based on principles of contractual or equitable subrogation with

                           respect to any claims of the EPPs, made on behalf of themselves or any and

                           all classes they seek to represent, against any non-settling defendant or

                           defendants.

                      3.   The GEICO entities agree to assert no objections to any of the settlements,

                           including, but not limited to, the Round 4 settlements, or the Plan of

                           Allocation, or any other matter relating to any of the settlements.

                      4.   The GEICO entities agree to be bound as absent class members by the terms

                           of all of the class settlements entered or which may be entered by the EPP

                           in this litigation.




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   Dated: November 20, 2019                Respectfully submitted,

                                           /s/ Hollis Salzman
                                           Hollis Salzman
                                           William V. Reiss
                                           Noelle Feigenbaum
                                           ROBINS KAPLAN LLP
                                           601 Lexington Avenue, Suite 3400
                                           New York, NY 10022
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                                           Interim Co-Lead Class Counsel for the
                                           Proposed End-Payor Plaintiff Classes


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                                           Attorneys for Plaintiffs GEICO
                                           CORPORATION, et al.



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                                            ORDER
          Upon the foregoing stipulation, and good cause appearing therefor,
          IT IS HEREBY ORDERED THAT the Stipulation is approved.


          DATED______________________                 _____________________________
                                                      MARIANNE O. BATTANI
                                                      United States District Judge




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on November 20, 2019, I caused the foregoing to be electronically
   filed with the Clerk of the Court using the CM/ECF system, which will send notification of
   such filing to all counsel of record.
                                               /s/ Marc M. Seltzer
                                               Marc M. Seltzer




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